Case 2:05-Cv-02181-.]PI\/|-tmp Document 33 Filed 08/29/05 Page 1 of 3 Page|D 59
F"'ED BY .Fi.. n.c.

 

IN THE UNITED STATES DISTRICT coURT 05 AUG 29 PH m 33
FoR THE WESTERN DISTRICT 0F TENNESSEE
WESTERN DIvIsIoN THOMAS M. mg
Cl£BK §§ ester-cr
mo s_;z';;-,YH;S
wILLIE MARTIN, et al, *
Plaimiff, *
YS- * NO- _._‘MM__
CoRRECTIoN C0RP0RAT10N oF *
AMERICA, et al
Defendant. *

 

ORDER GRANTING MOTION FOR EXTENSION OF TIME

 

lt appearing to the court that Plaintiff’s Motion for Extension of Time to Respond to Plaintiff
Administratior’s Motion to Intervene and to Amend Complaint is well taken, it is therefore hereby
ORDERED, ADJUDGED and DECREED that the Plaintiff have until August 26, 2005, in Which

to respond to Administrator’s Motion to Intervene and to Amend Cornplaint.

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rr ls So oRDERED rhisL? day of duff ,2005.

UNITED STATES DISTR]CT JUDGE

 

Thfs document entered on the docket heat in compliance _
with nme se and/or re(a) FncP on g ,E'E ZS/

 

F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
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Case 2:05-Cv-02181-.]PI\/|-tmp Document 33 Filed 08/29/05 Page 3 of 3 Page|D 61

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Honorable J on McCalla
US DISTRICT COURT

